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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



United States of America,
                                                         Crim. No. 20-150 NEB/BRT
                        Plaintiff,

v.
                                                         ARRAIGNMENT ORDER
Gregory Lynn McCoy,

                        Defendant.



         An indictment was filed on July 28, 2020, in the above matter. (Doc. No. 1.) A

hearing was held before the undersigned United States Magistrate Judge on August 4,

2020. Defendant McCoy was present in court with his attorney, Kevin O’Brien, CJA. The

government was represented by Joseph Teirab, Assistant United States Attorney.

         The Defendants identified himself by name and age; waived the reading of the

indictment; and entered a plea of not guilty.

         Pursuant to Local Rule 12.1 (copy attached), IT IS HEREBY ORDERED

that:

         1.       The government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by August 10, 2020. D. Minn. LR 12.1(a)(1). In order to avoid

the need for a recess of the motions hearing, the government is requested to make, by

August 10, 2020, all disclosures which will be required by Fed. R. Crim. P. 26.2 and

12(h).
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       2.       Defendant must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by August 17, 2020. D. Minn. LR 12.1(a)(2).

       3.       All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before August 24, 2020. 1

D. Minn. LR 12.1(c)(1). Counsel are advised that Magistrate Judge Thorson does not

require any courtesy copies related to pretrial motions. Counsel must electronically

file a letter on or before August 24, 2020 if no motions will be filed and there is no

need for hearing.

       4.       All responses to motions must be filed by September 8, 2020. D. Minn. LR

12.1(c)(2).

       6.       Any Notice of Intent to Call Witnesses must be filed by September 8,

2020. D. Minn. LR. 12.1(c)(3)(A).

       7.       Any Responsive Notice of Intent to Call Witnesses must be filed by

September 11, 2020. D. Minn. LR 12.1(c)(3)(B).

       8.       A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

                a.    The government makes timely disclosures and Defendant identifies
                      in the motions particularized matters for which an evidentiary
                      hearing is necessary; or

                b.    Oral argument is requested by either party in its motion, objection or
                      response pleadings.

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       “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must
confer with the responding party. The parties must attempt in good faith to clarify and
narrow the issues in dispute.” D. Minn. LR 12.1(b).
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       9.       In the event motions are filed, and a hearing is required, the hearing will be

set for September 17, 2020, at 9:00 a.m. before Magistrate Judge Becky R. Thorson. At

this time, it is uncertain whether the Court will be able to hold an in-person hearing as

scheduled due to the COVID-19 pandemic. Thus, if an in-person hearing cannot be held

on this date, a hearing by video conference will be arranged for this date instead. The

Court will update the parties on the status of the availability of an in-person hearing by

September 4, 2020. If only a video conference hearing is available at that time, counsel

for the Defendant must file a letter by September 8, 2020 indicating whether the

Defendant consents to proceeding with the hearing by video conference. If the Defendant

does not consent to proceed by videoconference, the motions hearing be held in person at

a later date and time.

       10.      TRIAL

                a.     IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT:

       the following trial and trial-related dates are:

                All voir dire questions, jury instructions, and trial related motions

(including motions in limine) must be submitted to District Judge Nancy E. Brasel on or

before September 28, 2020.

                This case shall commence trial on October 5, 2020, at 9:00 a.m. before

District Judge Nancy E. Brasel in Courtroom 3A, Warren E. Burger Federal Building and

U.S. Courthouse, 316 North Robert Street, ST. PAUL, Minnesota.




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             b.     IF PRETRIAL MOTIONS ARE FILED, the trial date, and

other related dates, will be rescheduled following the ruling on pretrial motions.

Counsel must contact the Courtroom Deputy for District Judge Nancy E. Brasel to

confirm the new trial date.


Dated: August 6, 2020                   s/ Jon T. Huseby
                                        Honorable Jon T. Huseby
                                        United States Magistrate Judge




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